Case 2:19-mj-00908-DJA Document 2 Filed 12/03/19 Page 1 of 1
UNITED STATES DIS"

 
  
 
  
 

   

   
 

 

UNITED STATES OF ANERICA' Feaen
—

Plaintiff,

vs.

Roy Boules

Defendant.

 

The undersigned defendant hereby appoints___[23, nav Scho vi fe Id
to appear generally for him/her as his/her attorney and counsel at law throughout all proceedings in this

case unless this appointment be sooner revoked.

DATED: 12 [3 /19 LOYOLA

Defendant's signature

 

 

APPEARANCE PRAECIPE

I hereby accept the foregoing appointment and request the Clerk to enter my appearance as
attorney for the defendant, in response to the foregoing designation.

I personally will appear at all proceedings in this case. I understand that no other attorney may
appear in my place unless prior permission is granted by the Court, and then ONLY when consent of the
defendant has been obtained and filed with the Clerk.

I further state that I realize it is my responsibility to keep the defendant advised as to all
proceedings in this case and to inform him/her when to appear in Court, and also to notify the Clerk of any
change in my address or telephone number.

DATED: i2/s hs as

Attorney's signature

Sd0 8. Yi sk

Attorney's address

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FoZ ALY F563

Attorney's phone number

 

Revised 6/15/09
